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                     UNITED STATES COURT OF APPEALS
                                                                               FILED
                                                                                APR 17 2009
                            FOR THE NINTH CIRCUIT
                                                                      M O LLY C . D W YER , C LER K O F C OU R T
                                                                            U .S. C O U R T OF APPE ALS



THEODORE MAROPULOS; DONNA                        No. 07-55873
MAROPULOS; DANIELLE JACOBO;                      D.C. No. CV-04-01171-TJH
NATHAN MAROPULOS; ELIZABETH                      Central District of California, Los
MAROPULOS; AARON MAROPULOS;                      Angeles
KATHERINE MAROPULOS;
SHANNON MAROPULOS; THOMAS
MAROPULOS,                                       MANDATE

              Plaintiffs - Appellees,

  V.

COUNTY OF LOS ANGELES; LEE
BACA,

              Defendants,

 and

STEVE LANKFORD,

              Defendant - Appellant.




       The judgment of this Court, entered 3/24/09, takes effect this date.
       This constitutes the formal mandate of this Court issued pursuant to Rule
41(a) of the Federal Rules of Appellate Procedure.



                                                FOR THE COURT:

                                                Molly C. Dwyer
                                                Clerk of Court
Case: 07-55873, 04/17/2009, ID: 6886799, DktEntry: 47, Page 2 of 2




                                     By: Gabriela Van Allen
                                     Deputy Clerk
